              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
            CRIMINAL CASE NO. 2:12-cr-00033-MR-DLH-2


UNITED STATES OF AMERICA )
                            )
         vs.                )                    ORDER
                            )
KENNETH ASHE.               )
___________________________ )

      THIS MATTER is before the Court on the Defendant’s pro se letters

and exhibits [Doc. 161] and the Defendant’s pro se Motion to Reduce

Sentence pursuant to 18 U.S.C. § 3582 [Doc. 165].

      The Defendant has filed a notice of appeal [Doc. 151]. Generally

speaking, the filing of a notice of appeal divests the district court of

jurisdiction over a case. See United States v. Wooden, 230 F. App’x 243,

244 (4th Cir. 2007) (per curiam). “The filing of a notice of appeal is an event

of jurisdictional significance – it confers jurisdiction on the court of appeals

and divests the district court of its control over those aspects of the case

involved in the appeal.” Griggs v. Provident Consumer Discount Co., 459

U.S. 56, 58 (1982) (per curiam). Here, the Defendant’s motions relate

solely to issues involved in his appeal. As such, this Court lacks jurisdiction

to entertain the Defendant’s motions.




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     IT IS, THEREFORE, ORDERED that the Defendant’s filings, to the

extent that such filings can be construed as motions [Docs. 161, 165], are

DENIED WITHOUT PREJUDICE.

     IT IS SO ORDERED.             Signed: January 15, 2014




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